     Case: 1:20-cv-05326 Document #: 22 Filed: 03/29/21 Page 1 of 1 PageID #:51

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Gregorio Diaz, et al.
                                             Plaintiff,
v.                                                        Case No.: 1:20−cv−05326
                                                          Honorable Rebecca R. Pallmeyer
Lab Tec Cosmetics by Marzena, Inc., et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 29, 2021:


         MINUTE entry before the Honorable Rebecca R. Pallmeyer: Parties' joint motion
for settlement approval and to dismiss without prejudice [21] is granted. Civil case
terminated. Notice mailed by judge's staff (ntf, )




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